                        IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF TENNESSEE AT GREENEVILLE

                          CRIMINAL MINUTES: Change of Plea

USA vs   KIRK ESTES           DATE   June 10, 2021

Case No. 2:20-CR-63 (11)            Time   1:30     To 1:55
================================================================================
           Honorable Clifton L. Corker, U. S. District Judge, Presiding

    KIM OTTINGER                KAREN BRADLEY            J. GREGORY BOWMAN
    Deputy Clerk                 Court Reporter           Asst. U.S. Attorney
================================================================================
     DEFENDANT(s)                                DEFENSE ATTORNEY(s)
 KIRK ESTES (11)                                    NIKKI HIMEBAUGH

PROCEEDINGS:

Defendant(s) Sworn

Defendant advised of rights to appear in person rather than by video

Waiver by defendant to appear by video conference-ACCEPTED

Court questions defendant(s) regarding physical and mental conditions and
     advises defendant of nature and possible consequences of plea

Indictments/reading waived

Motion of defendant(s) to change plea

Plea of Guilty to Count 1-Lesser Included Offense - Accepted

Plea Agreement filed on 05/27/21 [Doc. 191]

Remaining Counts to be dismissed at time of sentencing

PSI reports requested

Plea Agreement(s) Taken Under Advisement

Defendant(s) remanded to custody of USM




SENTENCING DATE:
September 24, 2021 @ 9:00 a.m. Before Honorable Clifton L. Corker




  Case 2:20-cr-00063-DCLC-CRW Document 200 Filed 06/10/21 Page 1 of 1 PageID #: 598
